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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION



IN RE: ROUNDUP PRODUCTS LIABILITY
LITIGATION                                                                               MDL No. 2741



                                  (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO −226)



On October 3, 2016, the Panel transferred 19 civil action(s) to the United States District Court for
the Northern District of California for coordinated or consolidated pretrial proceedings pursuant to
28 U.S.C. § 1407. See 214 F.Supp.3d 1346 (J.P.M.L. 2016). Since that time, 2,939 additional
action(s) have been transferred to the Northern District of California. With the consent of that court,
all such actions have been assigned to the Honorable Vince Chhabria.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of California and assigned to
Judge Chhabria.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of California for the reasons stated in the order of October 3, 2016, and, with the
consent of that court, assigned to the Honorable Vince Chhabria.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of California. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                       FOR THE PANEL:


                   Aug 10, 2020
                                                       John W. Nichols
                                                       Clerk of the Panel
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IN RE: ROUNDUP PRODUCTS LIABILITY
LITIGATION                                                              MDL No. 2741



                    SCHEDULE CTO−226 − TAG−ALONG ACTIONS



 DIST        DIV.      C.A.NO.      CASE CAPTION


ARKANSAS WESTERN

 ARW          3       20−03050      Vanblaricom v. Monsanto Company

CALIFORNIA SOUTHERN

  CAS         3       20−01235      Wallace v. Monsanto Company et al

IOWA NORTHERN

  IAN         3       20−03032      Webb v. Monsanto Company

TEXAS NORTHERN

  TXN         4       20−00737      Powell v. Monsanto Company
